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                              EXHIBIT X
Sent:      Mon, 22 Sep 2014 14:53:28 -0400 (EDT)
From:       CaseH.2:18-cv-03549-GRB-ST
           Javier                               Document 39-24 Filed 03/01/19 Page 2 of 3 PageID #: 648
                    Valdés, MRNY <list@maketheroadny.org>
To:        todos@maketheroadny.org
Subject:   Advisory: Islip Residents to Demand Transparency and Community Input in Roberto Clemente Park Clean-up

                  View in your browser here.




                FOR IMMEDIATE RELEASE
                Daniel Altschuler, Make the Road New York: daniel.altschuler@maketheroadny.org; 917-494-5922
                (English / Spanish)
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                    Islip Residents to Rally Before Town Board Meeting,
                     Demanding Transparency and Community Input in
                             Roberto Clemente Park Clean-up

                On Tuesday, September 23rd at 6:30pm, Islip Town residents will rally at Islip Town Hall to demand
                transparency and community involvement in the clean-up of Roberto Clemente Park. Members of Make
                the Road New York (MRNY), New York Communities for Change (NYCC) and their allies will join
                together to insist that the community members most impacted and endangered by the illegal dumping
                be at the center of remediation discussions.

                What: Community Rally to Demand Transparency and Community Input in Roberto Clemente Park
                Clean-up
                When: Tuesday, September 23rd, 6:30pm
                Where: Islip Town Hall (655 Main Street, Islip)

                The clean-up process must include a plan for citizen participation that allows for meaningful and
                sustained community involvement. In order to rebuild trust between residents and their elected officials
                and to ensure safe parks for the people of Islip, MRNY and NYCC's members along with lawyers from
                New York Lawyers for the Public Interest and the Center for Popular Democracy will demand the Islip
                Town Board:

                1) Share its draft remedial proposal (including any technical data and supporting documentation) with
                the public immediately;

                2) Establish a comprehensive on-line document repository, where all investigation and planning
                documents will be posted as soon as they are available;

                3) Hold a public hearing on the draft remedial plan and commit to answering community questions
                and considering community feedback;

                4) Open a public comment period, to allow for the submission of additional written comments on the
                draft remedial plan;

                5) Plan for ongoing community outreach throughout the remedial process, including additional
                opportunities for public notice and comment at appropriate milestones; and

                6) Provide meaningful language access services to ensure full community participation in this
                process.
                                                             ###
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       Make the Road New York (MRNY) builds the power of Latino and working class communities to achieve dignity and justice
     through organizing, policy innovation, transformative education, and survival services. We have 15,000 members and operate
   five community centers in Bushwick, Brooklyn; Jackson Heights, Queens; Port Richmond and Midland Beach, Staten Island; and
       Brentwood, Long Island. To find out more, visit www.maketheroadny.org or email communications@maketheroadny.org




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